














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-09-461-CV



5 STAR STORAGE, LLC
	
APPELLANT



V.



PROJECT COMPLIANCE , LLC
	APPELLEE

 
	

----------

FROM THE 17TH DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant’s unopposed motion to dismiss appeal. &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL: &nbsp;GARDNER, WALKER, and MCCOY, JJ.



DELIVERED: &nbsp;February 4, 2010

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




